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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                                   NO. 4:04CR00274-02 JLH

RAYMOND NEALY                                                                 DEFENDANT


                                              ORDER

       Raymond Nealy’s Motion for Submission of a Juror Questionnaire is GRANTED without

objection. Document #343. The Clerk of the Court is directed to send the jury questionnaire

attached to Nealy’s motion to all prospective jurors in a manner to obtain answers to the

questionnaire in a reasonable time prior to trial.

       IT IS SO ORDERED this 9th day of February, 2009.



                                                     ___________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
